Case 19-10782      Doc 58      Filed 06/20/19 Entered 06/20/19 11:22:35          Desc Main
                                 Document     Page 1 of 4


                       UNITED STATES BANKRUPTCY COURT
                                    FOR THE
                          DISTRICT OF MASSACHUSETTS


In re                                             IN PROCEEDINGS UNDER
ANDREW GREENHUT,                                  CHAPTER 13
               Debtor                             CASE NO.: 19-10782


 RESPONSE OF DEBTOR TO MOTION OF CREDITOR GITA SRIVASTAVA TO
   COMPEL DEBTOR TO WITHDRAW FILING AND REDACT DOCUMENT

     NOW COMES the Debtor, Andrew Greenhut, and hereby responds, pursuant to Fed. R.

Bankr. Pro. 9037 and MLBR 9037-1, to the Motion of Creditor Gita Srivastava to Compel

Debtor to Withdraw Filing and Redact Document (the “Motion”) as follows:


1. At 12:24 PM on June 18, 2019, the Debtor filed his “Objection to Claim 8 of Claimant Gita

   Srivastava. and Request for Evidentiary Sanctions under Fed. R. Bankr. Pro.

   3001(c)(2)(D)”, filed as Document No. 45 in the above-captioned case.

2. Through inadvertence and oversight, Debtor’s Counsel did not redact out the date of birth

   of the Debtor’s minor child, “D.S.” in the document, as part of the documentation included

   with the “Objection to Claim 8 of Claimant Gita Srivastava and Request for Evidentiary

   Sanctions under Fed. R. Bankr. Pro. 3001(c)(2)(D)”, specifically Exhibit “C”, the “Agreed

   Final Decree of Divorce”.

3. At 4:43 PM on June 19, 2019, the Creditor, Gita Srivastava, filed her “Motion of Creditor

   Gita Srivastava to Compel Debtor to Withdraw Filing and Redact Document”, requesting,

   inter alia, that the Debtor be compelled to withdraw his original “Objection to Claim 8 of

   Claimant Gita Srivastava. and Request for Evidentiary Sanctions under Fed. R. Bankr. Pro.

   3001(c)(2)(D)” and substitute therefor a redacted copy without Exhibits “C” and Exhibit
     Case 19-10782       Doc 58     Filed 06/20/19 Entered 06/20/19 11:22:35            Desc Main
                                      Document     Page 2 of 4


        “D” \1 thereto. At no time after the filing of the Debtor’s original “Objection to Claim 8 of

        Claimant Gita Srivastava. and Request for Evidentiary Sanctions under Fed. R. Bankr. Pro.

        3001(c)(2)(D)” and before filing the Creditor’s Motion of Creditor Gita Srivastava to

        Compel Debtor to Withdraw Filing and Redact Document did Creditor’s Counsel attempt

        to contact Debtor’s Counsel by email, text message or by telephone.

     4. At 10:32 AM on June 20, 2019, after attempting to contact Creditor’s Counsel by telephone

        and leaving a voicemail message requesting a conference to discuss the substance of the

        Motion of Creditor Gita Srivastava to Compel Debtor to Withdraw Filing and Redact

        Document, the Debtor filed a Motion to Redact his “Objection to Claim 8 of Claimant Gita

        Srivastava. and Request for Evidentiary Sanctions under Fed. R. Bankr. Pro.

        3001(c)(2)(D)” and redacted those portions of Exhibit “C” showing the Debtor’s minor

        child’s birth date, as well as, out of an abundance of caution, redacting the former and

        current addresses of the parties.

     5. Contrary to the contentions made by the Creditor, a thorough review of the “Agreed Final

        Decree of Divorce” and the “Order on Petitioner’s First Amended Petition for Enforcement

        of Property Division” reveals that there exists no provision placing either of these

        document “under seal”, other than the moniker stating “NOTICE: THIS DOCUMENT

        CONTAINS SENSITIVE DATA” at the top of the first page of each. Furthermore,

        although the creditor alludes to a “seal order”, no such document or order has been

        appended to the Motion. Indeed, other than the birth date of the Debtor’s child, D.S., both

        Exhibits “C” and “D” were already substantially redacted by the Texas District Court, and




1/
   Exhibit “D” is the “Order on Petitioner’s First Amended Petition for Enforcement of
Property Division”
  Case 19-10782       Doc 58      Filed 06/20/19 Entered 06/20/19 11:22:35         Desc Main
                                    Document     Page 3 of 4


     do not contain any “personally identifying information” not in conformity with the

     meaning of Federal Rule of Bankruptcy Procedure 9037 and the “E-Government Act Of

     2002” from which Federal Rule of Bankruptcy Procedure 9037 is derived, other than the

     date of birth of the parties’ minor child.

 6. Furthermore, the creditor has cited no provision of Federal Rule of Bankruptcy Procedure

     9037 or MLBR 9037-1, or any other provision of Federal law or applicable rules that

     allows the recovery of legal fees for seeking to compel a party to redact a document (other

     than paying a $25 fee to the U.S. Bankruptcy Court which has already been done as part of

     the debtor’s Motion to Redact.)

 7. Based upon the foregoing chain of events, Creditor’s Motion should be denied beyond

     what has already been it redacted by the filing of the Debtor’s Motion to Redact and

     Substitute of June 20, 2019, as the redacted motion contains no personally identifiable

     information and otherwise conforms with the requirements of Federal Rule of Bankruptcy

     Procedure 9037(a) and (b).

 WHEREFORE, the Debtor respectfully requests that the Motion of Creditor Gita Srivastava to

Compel Debtor to Withdraw Filing and Redact Document, and for such other and further relief

as the court deems mete and proper under the circumstances.

                                              ANDREW GREENHUT, Debtor,
                                              By her attorney,


Date:6/20/2019                                /s/Richard N. Gottlieb, Esq.
                                              Richard N. Gottlieb, Esq. BBO # 547970
                                              Law Offices of Richard N. Gottlieb
                                              Ten Tremont Street
                                              Suite 11, 3rd Floor
                                              Boston, MA 02108
                                              (617)742-4491
                                              rnglaw@verizon.net
  Case 19-10782      Doc 58     Filed 06/20/19 Entered 06/20/19 11:22:35             Desc Main
                                  Document     Page 4 of 4


                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                            DISTRICT OF MASSACHUSETTS


 In re                                                IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                     CHAPTER 13
                Debtor                                CASE NO.: 19-10782


                                CERTIFICATE OF SERVICE

       I, Richard N. Gottlieb, Esq., hereby certify that I have this day served the foregoing

Response of Debtor to Motion of Creditor Gita Srivastava to Compel Debtor to Withdraw Filing

and Redact Document electronically by the court’s CM/ECF System.

Date:6/20/2019                               /s/Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO # 547970
                                             Law Offices of Richard N. Gottlieb
                                             Ten Tremont Street
                                             Suite 11, 3rd Floor
                                             Boston, MA 02108
                                             (617)742-4491
                                             rnglaw@verizon.net

Persons served:

Carolyn Bankowski, Esq.
Chapter 13 Trustee
(Served via CM/ECF)


Alex Mattera, Esq.
Partridge, Snow and Hahn, LLP
Counsel to Gita Srivastava
(Served via CM/ECF)
